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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA



    UNITED STATES OF AMERICA,
                    v.                                       No. 21-cr-667-RCL-ZMF
    MAHAILYA PRYER,

           Defendant.


                                              ORDER

          On May 22, 2023, this Court held a continued Preliminary Hearing on Violations of

Release and Detention Hearing for Defendant Pryer.

          The Bail Reform Act, although not controlling, provides guidance in determining whether

a defendant should be released pending a final hearing on revocation. The Court finds that the

Defendant is not a flight risk. Furthermore, the Court finds that a combination of conditions—that

is, home incarceration at an inpatient facility—could reasonably assure the safety of the

community. 1 Thus, it is therefore ORDERED:

          The Defendant is ORDERED released from custody on May 26, 2023;

          Pursuant to 18 U.S.C. § 4282, the United States Marshals Service shall transport the

Defendant forthwith to the place of her arrest: Springfield, Missouri. The United States Marshals

Service shall provide subsistence to the Defendant to effect this transfer, consistent with

regulations promulgated by the Attorney General.

          The Defendant shall remain in home incarceration. The Defendant shall be subject to

location monitoring at the discretion of the U.S. Probation Office. The installation and removal of




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    The Government objected to such findings and requested that the Defendant remain incarcerated.
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such device shall be left to the discretion of the U.S. Probation Office. Home incarceration shall

begin at the inpatient treatment facility identified at the May 22 hearing. The Defendant shall travel

directly to this facility upon her arrival to Springfield, Missouri. The Defendant shall execute all

necessary releases to permit the U.S. Probation office to monitor her status. The Defendant must

remain at the inpatient facility for the duration of the treatment. The Defendant shall immediately

notify her counsel and the U.S. Probation office if she leaves this treatment facility for any reason.

       Prior to the Defendant’s release from the inpatient facility, the undersigned will hold a

status hearing to assess if there is a viable place of residence for the Defendant, especially

considering that a final revocation remains to be held in Washington, D.C.

       Pursuant to 18 U.S.C. § 4285, the Court found after an inquiry that the Defendant is

financially unable to provide the necessary transportation to appear back before Judge Lamberth

for the final hearing on violation. The Court further found that the interest of justice would be

served by ordering the United States Marshals Service to arrange for round trip travel for such

hearing. Thus, the United States Marshals Service shall provide for the Defendant’s noncustodial

transportation or furnish the fare for such transportation to this Court for such future hearing. The

United States Marshals Service shall further furnish the Defendant with an amount of money for

subsistence expenses to this destination, not to exceed the amount authorized as a per diem

allowance for travel under section 5 U.S.C. § 5702(a). Pursuant to 18 U.S.C. § 4285, such expenses

shall be paid by out of funds authorized by the Attorney General for such expenses.
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       The Defendant’s failure to comply with any provisions in this order will lead to the issuance

of an arrest warrant.

       The United States Marshals Service shall provide a copy of this Order to the Defendant

upon her release.




Date: May 24, 2023
                                             ___________________________________
                                             ZIA M. FARUQUI
                                             UNITED STATES MAGISTRATE JUDGE
